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                                                                                                                       Disney Company
                                                                #:38300

     MENU




                                                                NOVEMBER 7, 2019




                The Walt Disney Company Reports Fourth
                 Quarter and Full Year Earnings for Fiscal
                                  2019

                BURBANK, Calif.–The Walt Disney Company (NYSE: DIS) today
                reported earnings for its fourth quarter and fiscal year ended
                September 28, 2019. Diluted earnings per share (EPS) from
                continuing operations for the fourth quarter decreased 72% to
                $0.43 from $1.55 in the prior-year quarter. Excluding certain items
                affecting comparability(1), diluted EPS for the quarter decreased
                28% to $1.07 from $1.48 in the prior-year quarter. Diluted EPS from
                continuing operations for the year decreased 25% to $6.27 from
                $8.36 in the prior year. Excluding certain items affecting
                comparability(1), diluted EPS from continuing operations for the
                year decreased 19% to $5.77 from $7.08 in the prior year.


                “Our solid results in the fourth quarter reflect the ongoing strength
                of our brands and businesses,” said Robert A. Iger, Chairman and
                Chief Executive Officer, The Walt Disney Company. “We’ve spent
                the last few years completely transforming The Walt Disney
                Company to focus the resources and immense creativity across the
                entire company on delivering an extraordinary direct-to-consumer
                experience, and we’re excited for the launch of Disney+ on
                November 12.”
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                                                                                                                       Disney Company
                                                                #:38301
                On March 20, 2019, the Company acquired Twenty-First Century
     MENU
                Fox, Inc., which was subsequently renamed TFCF Corporation
                (TFCF), for cash and the issuance of 307 million shares.
                Additionally, as part of the TFCF acquisition, we acquired a
                controlling interest in Hulu LLC (Hulu). Results for the current
                quarter and fiscal year reflect the consolidation of TFCF and Hulu.


                The following table summarizes the fourth quarter and full year
                results for fiscal 2019 and 2018 (in millions, except per share
                amounts):


                                                            Quarter Ended                                Year Ended

                                                        Sept. 28,      Sept. 29,                   Sept. 28,      Sept. 29,
                                                            2019           2018       Change          2019           2018        Change

                 Revenues                               $ 19,100       $ 14,306         34 %      $ 69,570       $ 59,434         17 %

                 Income from continuing
                 operations before income
                 taxes                                  $ 1,258        $ 3,202         (61)%      $ 13,944       $ 14,729          (5)%

                 Total segment operating
                 income(1)                              $ 3,436        $ 3,277            5%      $ 14,868       $ 15,689          (5)%

                 Net income from continuing
                 operations(2)                          $     785      $ 2,322         (66)%      $ 10,441       $ 12,598         (17)%

                 Diluted EPS from
                 continuing operations(2)               $     0.43     $     1.55      (72)%      $     6.27     $        8.36    (25)%

                 Diluted EPS excluding
                 certain items affecting
                 comparability(1)                       $     1.07     $     1.48      (28)%      $     5.77     $        7.08    (19)%

                 Cash provided by
                 continuing operations                  $ 1,718        $ 3,853         (55)%      $ 5,984        $ 14,295         (58)%

                 Free cash flow(1)                      $     409      $ 2,652         (85)%      $ 1,108        $ 9,830          (89)%


                 (1) EPS excluding certain items affecting comparability, total segment operating income and
                      free cash flow are non-GAAP financial measures. The comparable GAAP measures are
                      diluted EPS from continuing operations, income from continuing operations before
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                                                                                                                       Disney Company
                                                                #:38302
                      income taxes, and cash provided by continuing operations, respectively. See the
                      discussion on page 2 and on pages 9 through 12.
     MENU
                 (2) Reflects amounts attributable to shareholders of The Walt Disney Company, i.e. after
                      deduction of noncontrolling interests.


                SEGMENT RESULTS


                The Company evaluates the performance of its operating
                segments based on segment operating income, and management
                uses total segment operating income as a measure of the
                performance of operating businesses separate from non-operating
                factors. The Company believes that information about total
                segment operating income assists investors by allowing them to
                evaluate changes in the operating results of the Company’s
                portfolio of businesses separate from non-operational factors that
                affect net income, thus providing separate insight into both
                operations and the other factors that affect reported results.


                The following is a reconciliation of income from continuing
                operations before income taxes to total segment operating
                income (in millions):


                                                         Quarter Ended                                Year Ended

                                                        Sept.
                                                         28,       Sept. 29,                    Sept. 28,       Sept. 29,
                                                        2019          2018       Change            2019            2018     Change

                 Income from continuing
                 operations before income
                 taxes                                $ 1,258      $ 3,202          (61)%      $ 13,944        $ 14,729       (5)%

                 Add/(subtract):

                  Corporate and
                  unallocated shared
                  expenses                                 309          208         (49)%             987             744    (33)%

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                                                                                                                       Disney Company
                                                                #:38303
                  Restructuring and                        314              5             >         1,183                 33       >
                  impairment charges                                               (100)%                                      (100)%
     MENU
                  Other (income) / expense,
                  net                                      483          (507 )          nm         (4,357 )          (601 ) >100 %

                                                                                          >
                  Interest expense, net                    361          159        (100)%             978             574       (70)%

                  Amortization of TFCF and
                  Hulu intangible assets
                  and fair value step-up on
                  film and television costs                711              —           nm          1,595                 —       nm

                  Impairment of equity                                                                                             >
                  investments                                 —         210             nm            538             210      (100)%

                 Total Segment Operating
                 Income                               $ 3,436      $ 3,277             5%      $ 14,868        $ 15,689          (5)%


                The following table summarizes the fourth quarter and full year
                segment revenue and segment operating income for fiscal 2019
                and 2018 (in millions):


                                                         Quarter Ended                                 Year Ended

                                                     Sept. 28,       Sept. 29,                   Sept. 28,       Sept. 29,
                                                       2019            2018         Change          2019            2018       Change

                 Revenues:

                   Media Networks                   $ 6,510         $ 5,325            22 %     $ 24,827        $ 21,922        13 %

                   Parks, Experiences and
                   Products                             6,655           6,135           8%         26,225          24,701        6%

                   Studio Entertainment                 3,310           2,177          52 %        11,127          10,065       11 %

                   Direct-to-Consumer &                                               >100                                      >100
                   International                        3,428             825              %         9,349           3,414         %

                   Eliminations                                                            >                                       >
                                                          (803 )          (156 ) (100)%             (1,958 )          (668 ) (100)%

                 Total Revenues                     $ 19,100        $ 14,306           34 %     $ 69,570        $ 59,434        17 %

                 Segment operating income:

                   Media Networks                   $ 1,783         $ 1,842            (3)%     $ 7,479         $ 7,338          2%

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                   Parks, Experiences and               1,381           1,177          17 %          6,758           6,095       11 %
                   Products
     MENU
                   Studio Entertainment                 1,079             604          79 %          2,686           3,004      (11)%

                   Direct-to-Consumer &                                                    >                                        >
                   International                          (740 )          (340 ) (100)%             (1,814 )          (738 ) (100)%

                   Eliminations                                                            >                                        >
                                                           (67 )             (6 ) (100)%              (241 )              (10 ) (100)%

                 Total Segment
                 Operating Income                   $ 3,436         $ 3,277             5%      $ 14,868        $ 15,689          (5)%


                TFCF and Hulu operating results for the current period are
                consolidated and reported in our segments. Prior to the acquisition
                of TFCF, Hulu was accounted for as an equity method investment
                and was reported in our Direct-to-Consumer & International
                segment.


                DISCUSSION OF FULL YEAR SEGMENT RESULTS


                Segment operating income decreased at Direct-to-Consumer &
                International and Studio Entertainment and increased at Parks,
                Experiences and Products and Media Networks. The decrease at
                Direct-to-Consumer & International was due to the consolidation
                of Hulu, our ongoing investment in ESPN+ and costs to support
                the launch of Disney+. Lower segment operating income at Studio
                Entertainment was due to the consolidation of TFCF’s operations.
                TFCF results included a loss from theatrical distribution and film
                cost impairments, partially offset by income from TV/SVOD
                distribution. Higher operating results at Parks, Experiences and
                Products was due to growth at the domestic theme parks and
                resorts and merchandise licensing. The increase at our domestic
                parks and resorts was due to higher guest spending, partially offset
                by labor and other cost inflation. Growth at Media Networks was
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                                                                                                                       Disney Company
                                                                #:38305
                due to the consolidation of TFCF’s operations, partially offset by a
     MENU
                decrease at our legacy operations. The decrease at our legacy
                operations was due to higher programming and production costs
                and a decrease in ABC Studios program sales, partially offset by an
                increase in affiliate revenue. Eliminations of segment operating
                income increased due to higher sales of ABC Studios programs to
                Hulu and the International Channels. The elimination of sales of
                TFCF television programs to Hulu and our International Channels
                also contributed to the increase.


                DISCUSSION OF FOURTH QUARTER SEGMENT RESULTS


                Media Networks


                Media Networks revenues for the quarter increased 22% to $6.5
                billion, and segment operating income decreased 3% to $1.8
                billion. The following table provides further detail of the Media
                Networks results (in millions):


                                                         Quarter Ended                                  Year Ended

                                                     Sept. 28,       Sept. 29,                    Sept. 28,      Sept. 29,
                                                        2019            2018        Change           2019           2018        Change

                 Revenues:

                   Cable Networks                   $    4,243      $    3,527         20 %      $ 16,486       $ 14,610         13 %

                   Broadcasting                          2,267           1,798         26 %           8,341          7,312       14 %

                                                    $    6,510      $    5,325         22 %      $ 24,827       $ 21,922         13 %

                 Segment operating
                 income:

                   Cable Networks                   $    1,256      $    1,275          (1)%     $    5,425     $    5,225        4%

                   Broadcasting                            377              394         (4)%          1,351          1,402       (4)%

                   Equity in the income of                 150              173       (13)%             703               711    (1)%
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                                                                #:38306
                   investees

     MENU                                           $    1,783      $    1,842          (3)%     $    7,479     $    7,338   2%


                Cable Networks


                Cable Networks revenues for the quarter increased 20% to $4.2
                billion and operating income decreased $19 million to $1.3 billion.
                Lower operating income was due to a decrease at ESPN, partially
                offset by the consolidation of TFCF businesses (primarily the FX
                and National Geographic networks).


                The decrease at ESPN was due to increases in programming,
                production and marketing costs, partially offset by higher affiliate
                revenue. Higher programming costs were driven by rate increases
                for NFL, college sports and MLB programming. Affiliate revenue
                growth was due to an increase in contractual rates and the launch
                of the ACC Network, partially offset by a decrease in subscribers.


                Broadcasting


                Broadcasting revenues for the quarter increased 26% to $2.3
                billion and operating income decreased $17 million to $377
                million. The decrease in operating income was due to lower results
                at our legacy operations, partially offset by the consolidation of
                TFCF program sales.


                The decrease at our legacy operations was due to lower ABC
                Studios program sales, an increase in programming and
                production costs at the ABC Television Network, a decrease in
                advertising revenue and higher marketing costs. These decreases
                were partially offset by an increase in affiliate revenue due to
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                higher rates. The decrease in ABC Studios program sales was
     MENU
                driven by the comparison to prior-year sales of Daredevil and Iron
                Fist and lower sales of Black-ish. The increase in programming and
                production costs was driven by higher write-downs and an
                increase in the average cost of network programming in the
                current quarter compared to the prior-year quarter. Lower
                advertising revenue reflected a decrease in rates at the owned
                television stations.


                Equity in the Income of Investees


                Equity in the income of investees decreased from $173 million in
                the prior-year quarter to $150 million in the current quarter due to
                lower income from A+E Television Networks driven by a decrease
                in affiliate and advertising revenues and higher marketing costs.


                Parks, Experiences and Products


                Parks, Experiences and Products revenues for the quarter increased
                8% to $6.7 billion, and segment operating income increased 17%
                to $1.4 billion. Operating income growth for the quarter was due
                to increases from merchandise licensing, Disneyland Resort and
                Disney Vacation Club.


                Higher operating income at our merchandise licensing business
                was due to an increase in revenue from sales of merchandise
                based on Frozen and Toy Story, partially offset by lower sales of
                merchandise based on Mickey and Minnie.



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                                                                #:38308
                Growth at Disneyland Resort was primarily due to higher guest
     MENU
                spending, partially offset by expenses associated with Star Wars:
                Galaxy’s Edge, which opened on May 31, and, to a lesser extent,
                lower attendance. Guest spending growth was primarily due to
                increases in average ticket prices and higher food, beverage and
                merchandise spending.


                The increase in operating income at Disney Vacation Club was due
                to higher sales at Disney’s Riviera Resort in the current quarter,
                which included a timing benefit from the adoption of new revenue
                recognition accounting guidance (see page 6), compared to sales
                of Copper Creek Villas & Cabins in the prior-year quarter.


                Results at Walt Disney World Resort were comparable to the prior-
                year quarter, despite the adverse impact of Hurricane Dorian in the
                current quarter. Increases in guest spending and, to a lesser extent,
                occupied room nights and attendance were offset by higher costs.
                Higher costs were driven by costs associated with Star Wars:
                Galaxy’s Edge, which opened on August 29, and cost inflation.
                Guest spending growth was primarily due to increased food,
                beverage and merchandise spending and higher average ticket
                prices.


                Operating income at our international parks and resorts was
                comparable to the prior-year quarter, as growth at Disneyland Paris
                and Shanghai Disney Resort was largely offset by a decrease at
                Hong Kong Disneyland Resort. The increase at Disneyland Paris
                was driven by higher average ticket prices and attendance growth.
                At Shanghai Disney Resort, higher operating income was due to an
                increase in average ticket prices, partially offset by lower
                attendance. Lower results at Hong Kong Disneyland Resort were
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                due to decreases in attendance and occupied room nights
     MENU
                reflecting the impact of recent events.


                Studio Entertainment


                Studio Entertainment revenues for the quarter increased 52% to
                $3.3 billion and segment operating income increased 79% to
                $1,079 million. Higher operating income was due to an increase in
                theatrical distribution results, partially offset by a loss from the
                consolidation of the TFCF businesses.


                The increase in theatrical distribution results was due to the
                performance of The Lion King, Toy Story 4 and Aladdin in the
                current quarter compared to Incredibles 2 and Ant-Man And The
                Wasp in the prior-year quarter.


                Operating results at the TFCF businesses reflected a loss from
                theatrical distribution driven by the performance of Ad Astra, Art of
                Racing In The Rain and Dark Phoenix, partially offset by income
                from TV/SVOD distribution.


                Direct-to-Consumer & International


                Direct-to-Consumer & International revenues for the quarter
                increased from $0.8 billion to $3.4 billion and segment operating
                loss increased from $340 million to $740 million. The increase in
                operating loss was due to the consolidation of Hulu, costs
                associated with the upcoming launch of Disney+ and our ongoing
                investment in ESPN+, which was launched in April 2018. These


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                                                                                                                          Disney Company
                                                                #:38310
                decreases were partially offset by a benefit from the inclusion of
     MENU
                the TFCF businesses driven by income at Star India.


                Commencing March 20, 2019, as a result of our acquisition of a
                controlling interest in Hulu, 100% of Hulu’s operating results are
                included in the Direct-to-Consumer & International segment. Prior
                to March 20, 2019, the Company’s ownership share of Hulu results
                was reported as equity in the loss of investees.


                Eliminations


                Revenue eliminations increased from $156 million to $803 million
                and segment operating income eliminations increased from a loss
                of $6 million to a loss of $67 million driven by eliminations of sales
                of ABC Studios and Twentieth Century Fox Television programs to
                the International Channels and Hulu.


                ADOPTION OF NEW REVENUE RECOGNITION ACCOUNTING
                GUIDANCE


                At the beginning of fiscal 2019, the Company adopted new
                revenue recognition accounting guidance (ASC 606). Results for
                fiscal 2019 are presented under ASC 606, while prior period
                amounts continue to be reported in accordance with our historical
                accounting.


                The current quarter includes a $55 million favorable impact on
                segment operating income from the ASC 606 adoption. The most
                significant impact was an $88 million increase at Parks, Experiences
                and Products, which reflected licensing revenue from products
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                                                                                                                          Disney Company
                                                                #:38311
                related to films not yet released and benefits from the timing of
     MENU
                recognition of licensing minimum guarantees and sales of vacation
                club properties.


                OTHER QUARTERLY FINANCIAL INFORMATION


                Corporate and Unallocated Shared Expenses


                Corporate and unallocated shared expenses increased $101
                million from $208 million to $309 million for the quarter due
                primarily to the consolidation of TFCF operations, costs related to
                the integration of TFCF and higher compensation costs.


                Restructuring Charges


                During the quarter, the Company recorded charges totaling $314
                million, primarily for severance, in connection with the integration
                of TFCF. These charges are recorded in “Restructuring and
                impairment charges” in the Consolidated Statement of Income.


                Other income (expense), net


                Other income (expense), net was as follows (in millions):


                                                                                                  Quarter Ended

                                                                                            Sept. 28,           Sept. 29,
                                                                                               2019                2018         Change

                 Loss on debt extinguishment                                               $      (511 )       $           —       nm

                 Gain recognized in connection with the acquisition of                                                     —       nm
                 TFCF                                                                               28

                 Gain on sale of real estate                     EXHIBIT "2"                          —                   507      nm
https://thewaltdisneycompany.com/the-walt-disney-company-reports-fourth-quarter-and-full-year-earnings-for-fiscal-2019/                    12/31
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                                                                                                                          Disney Company
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                 Other income (expense), net                                               $      (483 )       $          507        nm
     MENU

                In the current quarter, the Company recognized a loss on the
                extinguishment of a portion of the debt originally assumed in the
                TFCF acquisition and a gain on the deemed settlement of
                preexisting relationships with TFCF pursuant to acquisition
                accounting guidance.


                Interest Expense, net


                Interest expense, net was as follows (in millions):


                                                                                         Quarter Ended

                                                                             Sept. 28, 2019           Sept. 29, 2018            Change

                 Interest expense                                              $        (413 )         $        (189 )          >(100)%

                 Interest, investment income and other                                     52                      30             73 %

                 Interest expense, net                                         $        (361 )         $        (159 )          >(100)%


                The increase in interest expense was due to higher debt balances
                as a result of the TFCF acquisition.


                The increase in interest, investment income and other for the
                quarter was due to a $27 million benefit related to pension and
                postretirement benefit costs, other than service cost. The Company
                adopted new accounting guidance in fiscal 2019 and now
                presents the elements of pension and postretirement plan costs,
                other than service cost, in “Interest expense, net.” The comparable
                benefit of $8 million in the prior-year quarter was reported in
                “Costs and expenses.” The benefit in the current quarter was due
                to the expected return on pension plan assets exceeding interest
                expense on plan liabilities and amortization of net actuarial losses.
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                                                                                                                          Disney Company
                                                                #:38313
                Equity in the Income (Loss) of Investees, net
     MENU


                Equity in the income (loss) of investees was as follows (in millions):


                                                                                            Quarter Ended

                                                                                 Sept. 28, 2019         Sept. 29, 2018      Change

                 Amounts included in segment results:

                   Media Networks                                                  $       150           $         173         (13)%

                   Parks, Experiences and Products                                            (1 )                   (4 )       75 %

                   Direct-to-Consumer & International                                       (18 )                 (183 )        90 %

                 Impairment of equity investments                                              —                  (210 )          nm

                 Equity in the income (loss) of investees, net                     $       131           $        (224 )          nm


                The decrease in equity income at Media Networks was due to
                lower income from A+E Television Networks driven by a decrease
                in affiliate and advertising revenues and higher marketing costs.


                The decrease in equity losses at Direct-to-Consumer &
                International was due to the consolidation of Hulu.


                Income Taxes


                The effective income tax rate was as follows:


                                                                                             Quarter Ended

                                                                                   Sept. 28, 2019 Sept. 29, 2018            Change

                 Effective income tax rate – continuing operations                       27.3 %                24.5 %       (2.8 ) ppt



                The increase in the effective income tax rate from continuing
                operations for the quarter was driven by an unfavorable impact
                                           EXHIBIT "2"
https://thewaltdisneycompany.com/the-walt-disney-company-reports-fourth-quarter-and-full-year-earnings-for-fiscal-2019/                    14/31
             Case
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                            The Walt Disney Company Reports Fourth528-2     Filed
                                                                   Quarter and       01/10/22
                                                                               Full Year Earnings forPage    15 -of
                                                                                                     Fiscal 2019 The31
                                                                                                                     Walt Page    ID
                                                                                                                          Disney Company
                                                                #:38314
                from the update of our full year effective income tax rate for the
     MENU
                current year relative to the estimate at the end of the third quarter.
                The full year effective rate is used to determine the quarterly
                income tax provision and is adjusted each quarter based on
                information available at the end of that quarter. This increase was
                partially offset by a reduction of the Company’s U.S. statutory
                federal income tax rate to 21.0% in fiscal 2019 from 24.5% in fiscal
                2018 as the result of U.S. federal income tax legislation (Tax Act),
                which was enacted in the prior year, and the comparison to a $0.1
                billion unfavorable impact from the Tax Act recognized in the prior-
                year quarter.


                Noncontrolling Interests


                Net (income) loss attributable to noncontrolling interests was as
                follows (in millions):


                                                                                                Quarter Ended

                                                                                     Sept. 28, 2019 Sept. 29, 2018 Change

                 Net income attributable to noncontrolling interests                   $       (129 )        $       (97 )   (33)%



                The increase in net income attributable to noncontrolling interests
                was due to accretion of the fair value of the redeemable
                noncontrolling interest in Hulu, partially offset by lower results at
                Hong Kong Disneyland Resort.


                Net income attributable to noncontrolling interests is determined
                on income after royalties and management fees, financing costs
                and income taxes, as applicable.


                                                                 EXHIBIT "2"
https://thewaltdisneycompany.com/the-walt-disney-company-reports-fourth-quarter-and-full-year-earnings-for-fiscal-2019/                    15/31
             Case
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                            The Walt Disney Company Reports Fourth528-2     Filed
                                                                   Quarter and       01/10/22
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                                                                                                     Fiscal 2019 The31
                                                                                                                     Walt Page    ID
                                                                                                                          Disney Company
                                                                #:38315
                FULL YEAR CASH FLOW STATEMENT INFORMATION
     MENU


                Cash Flow


                Cash provided by operations and free cash flow were as follows (in
                millions):


                                                                                               Year Ended

                                                                                  Sept. 28, 2019 Sept. 29, 2018            Change

                 Cash provided by operations                                       $       5,984        $      14,295     $ (8,311 )

                 Investments in parks, resorts and other property                         (4,876 )             (4,465 )       (411 )

                 Free cash flow(1)                                                 $       1,108        $       9,830     $ (8,722 )



                (1) Free     cash flow is not a financial measure defined by GAAP. See
                the discussion on pages 9 through 12.


                Cash provided by operations for fiscal 2019 decreased by $8.3
                billion from $14.3 billion in the prior year to $6.0 billion in the
                current year. The decrease was due to the payment of tax
                obligations that arose from the spin-off of Fox Corporation in
                connection with the TFCF acquisition and the sale of the regional
                sports networks acquired with TFCF, higher pension contributions,
                lower segment operating income, an increase in film and television
                production spending and higher interest payments.


                Capital Expenditures and Depreciation Expense


                Investments in parks, resorts and other property were as follows (in
                millions):


                                                                 EXHIBIT "2"
https://thewaltdisneycompany.com/the-walt-disney-company-reports-fourth-quarter-and-full-year-earnings-for-fiscal-2019/                    16/31
             Case
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                            The Walt Disney Company Reports Fourth528-2     Filed
                                                                   Quarter and       01/10/22
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                                                                                                     Fiscal 2019 The31
                                                                                                                     Walt Page    ID
                                                                                                                          Disney Company
                                                                #:38316
                                                                                                             Year Ended

     MENU                                                                                      Sept. 28, 2019            Sept. 29, 2018

                 Media Networks

                   Cable Networks                                                                $             93         $        96

                   Broadcasting                                                                                81                 107

                      Total Media Networks                                                                  174                   203

                 Parks, Experiences and Products

                   Domestic                                                                               3,294                 3,223

                   International                                                                            852                   677

                      Total Parks, Experiences and Products                                               4,146                 3,900

                 Studio Entertainment                                                                          88                  96

                 Direct-to-Consumer & International                                                         258                   107

                 Corporate                                                                                  210                   159

                 Total investments in parks, resorts and other property                          $        4,876           $     4,465



                Capital expenditures increased from $4.5 billion to $4.9 billion
                driven by higher spending on new attractions at our theme parks
                and resorts and spending on technology to support our direct-to-
                consumer streaming services.


                Depreciation expense was as follows (in millions):


                                                                                                         Year Ended

                                                                                          Sept. 28, 2019             Sept. 29, 2018

                 Media Networks

                   Cable Networks                                                         $             107          $            111

                   Broadcasting                                                                           84                       88

                      Total Media Networks                                                              191                       199

                 Parks, Experiences and Products

                   Domestic                                                                           1,474                     1,449

                                                                 EXHIBIT "2"
https://thewaltdisneycompany.com/the-walt-disney-company-reports-fourth-quarter-and-full-year-earnings-for-fiscal-2019/                    17/31
             Case
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                            The Walt Disney Company Reports Fourth528-2     Filed
                                                                   Quarter and       01/10/22
                                                                               Full Year Earnings forPage    18 -of
                                                                                                     Fiscal 2019 The31
                                                                                                                     Walt Page    ID
                                                                                                                          Disney Company
                                                                #:38317
                   International                                                                        724                768

     MENU             Total Parks, Experiences and Products                                           2,198               2,217

                 Studio Entertainment                                                                     74                55

                 Direct-to-Consumer & International                                                     207                106

                 Corporate                                                                              167                181

                 Total depreciation expense                                               $           2,837          $    2,758



                NON-GAAP FINANCIAL MEASURES


                This earnings release presents free cash flow, diluted EPS
                excluding the impact of certain items affecting comparability, and
                total segment operating income, all of which are important
                financial measures for the Company, but are not financial measures
                defined by GAAP.


                These measures should be reviewed in conjunction with the
                relevant GAAP financial measures and are not presented as
                alternative measures of operating cash flow, diluted EPS or income
                from continuing operations before income taxes as determined in
                accordance with GAAP. Free cash flow, diluted EPS excluding
                certain items affecting comparability and total segment operating
                income as we have calculated them may not be comparable to
                similarly titled measures reported by other companies. See further
                discussion of total segment operating income on page 2.


                Free cash flow – The Company uses free cash flow (cash provided
                by operations less investments in parks, resorts and other
                property), among other measures, to evaluate the ability of its
                operations to generate cash that is available for purposes other
                than capital expenditures. Management believes that information
                about free cash flow provides investors with an important
                                           EXHIBIT "2"
https://thewaltdisneycompany.com/the-walt-disney-company-reports-fourth-quarter-and-full-year-earnings-for-fiscal-2019/                    18/31
             Case
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                            The Walt Disney Company Reports Fourth528-2     Filed
                                                                   Quarter and       01/10/22
                                                                               Full Year Earnings forPage    19 -of
                                                                                                     Fiscal 2019 The31
                                                                                                                     Walt Page    ID
                                                                                                                          Disney Company
                                                                #:38318
                perspective on the cash available to service debt obligations, make
     MENU
                strategic acquisitions and investments and pay dividends or
                repurchase shares.


                The following table presents a summary of the Company’s
                consolidated cash flows (in millions):


                                                                                     Quarter Ended                   Year Ended

                                                                                 Sept. 28,      Sept. 29,      Sept. 28,    Sept. 29,
                                                                                    2019          2018           2019         2018

                 Cash provided by operations – continuing
                 operations                                                      $ 1,718        $ 3,853       $ 5,984       $ 14,295

                 Cash used in investing activities – continuing
                 operations                                                        (1,311 )         (193 ) (15,096 )          (5,336 )

                 Cash used in financing activities – continuing
                 operations                                                      (12,997 )        (3,862 )         (464 )     (8,843 )

                 Cash provided by operations – discontinued
                 operations                                                           302               —           622             —

                 Cash provided by investing activities –
                 discontinued operations                                          10,978                —      10,978               —

                 Cash used in financing activities – discontinued
                 operations                                                          (447 )             —          (626 )           —

                 Impact of exchange rates on cash, cash
                 equivalents and restricted cash                                     (145 )            26           (98 )         (25 )

                 Change in cash, cash equivalents and restricted
                 cash                                                              (1,902 )         (176 )       1,300            91

                 Cash, cash equivalents and restricted cash,
                 beginning of period                                                7,357          4,331         4,155        4,064

                 Cash, cash equivalents and restricted cash, end
                 of period                                                       $ 5,455        $ 4,155       $ 5,455       $ 4,155



                The following table presents a reconciliation of the Company’s
                consolidated cash provided by operations to free cash flow (in
                millions):
                                                                 EXHIBIT "2"
https://thewaltdisneycompany.com/the-walt-disney-company-reports-fourth-quarter-and-full-year-earnings-for-fiscal-2019/                    19/31
             Case
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                                                                   Quarter and       01/10/22
                                                                               Full Year Earnings forPage    20 -of
                                                                                                     Fiscal 2019 The31
                                                                                                                     Walt Page    ID
                                                                                                                          Disney Company
                                                                #:38319
                                                        Quarter Ended                                Year Ended
     MENU
                                                   Sept. 28, Sept. 29,                          Sept. 28,      Sept. 29,
                                                       2019         2018         Change           2019             2018        Change

                 Cash provided by
                 operations – continuing
                 operations                        $ 1,718        $ 3,853       $ (2,135 ) $ 5,984            $ 14,295         $ (8,311 )

                 Investments in parks,
                 resorts and other
                 property                              (1,309 )    (1,201 )          (108 )      (4,876 )          (4,465 )        (411 )

                 Free cash flow                    $     409      $ 2,652       $ (2,243 ) $ 1,108            $ 9,830          $ (8,722 )



                Diluted EPS excluding certain items affecting comparability – The
                Company uses diluted EPS excluding certain items to evaluate the
                performance of the Company’s operations exclusive of certain
                items affecting comparability of results from period to period. The
                Company believes that information about diluted EPS exclusive of
                these items is useful to investors, particularly where the impact of
                the excluded items is significant in relation to reported earnings,
                because the measure allows for comparability between periods of
                the operating performance of the Company’s business and allows
                investors to evaluate the impact of these items separately from the
                impact of the operations of the business.


                The following table reconciles reported diluted EPS from
                continuing operations to diluted EPS excluding certain items
                affecting comparability for the fourth quarter:


                                                                                                                                 Change
                                                                        Pre-Tax           Tax        After-Tax                   vs. prior
                                                                       Income/         Benefit/       Income/        Diluted       year
                 (in millions except EPS)                                 Loss       Expense(1)          Loss(2)      EPS(3)     period

                 Quarter Ended September 28, 2019:

                  As reported                                          $ 1,258        $ (344 )       $     914       $ 0.43        (72)%
                                                                  EXHIBIT "2"
https://thewaltdisneycompany.com/the-walt-disney-company-reports-fourth-quarter-and-full-year-earnings-for-fiscal-2019/                      20/31
             Case
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                                                                   Quarter and       01/10/22
                                                                               Full Year Earnings forPage    21 -of
                                                                                                     Fiscal 2019 The31
                                                                                                                     Walt Page    ID
                                                                                                                          Disney Company
                                                                #:38320
                  Exclude:

     MENU           Amortization of TFCF and Hulu
                    intangible assets and fair value step-
                    up on film and television costs(4)                      711           (164 )          547         0.30

                    Other income, net(5)                                    483           (112 )          371         0.21

                         Restructuring and impairment
                         charges(6)                                         314             (73 )         241         0.13

                  Excluding certain items affecting
                  comparability                                        $ 2,766        $ (693 )       $ 2,073       $ 1.07      (28)%


                 Quarter Ended September 29, 2018:

                  As reported                                          $ 3,202        $ (783 )       $ 2,419       $ 1.55

                  Exclude:

                    Gain on sale of real estate                            (507 )          134           (373 )      (0.25 )

                    Impairment of equity investments(7)                     210             (49 )         161         0.11

                    One-time impact from the Tax Act                           —           100            100         0.06

                    Restructuring and impairment
                    charges                                                    5              (1 )            4           —

                  Excluding certain items affecting
                  comparability                                        $ 2,910        $ (599 )       $ 2,311       $ 1.48


                   (1)   Tax benefit/expense is determined using the tax rate applicable to the individual item
                         affecting comparability.

                   (2)   Before noncontrolling interest share.

                   (3)   Net of noncontrolling interest share, where applicable. Total may not equal the sum of
                         the column due to rounding.

                   (4)   Intangible asset amortization was $481 million and step-up amortization was $230
                         million for assets recorded in connection with the TFCF acquisition and consolidation of
                         Hulu.

                   (5)   Reflects a charge for the extinguishment of a portion of the debt originally assumed in
                         the TFCF acquisition ($511 million), partially offset by a gain on the deemed settlement
                         of preexisting relationships with TFCF pursuant to our acquisition accounting ($28
                         million).

                   (6)   Primarily severance related to the acquisition and integration of TFCF.

                   (7)   Reflects impairments of Vice Group Holding, Inc. and Villages Nature ($157 million and
                         $53 million, respectively).
                                                                 EXHIBIT "2"
https://thewaltdisneycompany.com/the-walt-disney-company-reports-fourth-quarter-and-full-year-earnings-for-fiscal-2019/                    21/31
             Case
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                                                                   Quarter and       01/10/22
                                                                               Full Year Earnings forPage    22 -of
                                                                                                     Fiscal 2019 The31
                                                                                                                     Walt Page    ID
                                                                                                                          Disney Company
                                                                #:38321

     MENU       The following table reconciles reported diluted EPS from
                continuing operations to diluted EPS excluding certain items
                affecting comparability for the year:


                                                                                                                               Change
                                                                      Pre-Tax           Tax          After-Tax                 vs. prior
                                                                     Income/         Benefit/        Income/        Diluted      year
                 (in millions except EPS)                               Loss        Expense(1)        Loss(2)        EPS(3)    period

                 Year Ended September 28, 2019:

                  As reported                                       $ 13,944        $ (3,031 ) $ 10,913            $ 6.27        (25)%

                  Exclude:

                    Other income, net(4)                               (4,357 )         1,002          (3,355 )      (2.01 )

                    One-time impact from the Tax Act                           —           (34 )           (34 )     (0.02 )

                    Amortization of TFCF and Hulu
                    intangible assets and fair value
                    step-up on film and television
                    costs(5)                                            1,595            (355 )         1,240         0.74

                    Restructuring and impairment
                    charges(6)                                          1,183            (273 )           910         0.55

                    Impairment of equity
                    investments(7)                                        538            (123 )           415         0.25

                  Excluding certain items affecting
                  comparability                                     $ 12,903        $ (2,814 ) $ 10,089            $ 5.77        (19)%


                 Year Ended September 29, 2018:

                  As reported                                       $ 14,729        $ (1,663 ) $ 13,066            $ 8.36

                  Exclude:

                    One-time impact from the Tax Act                           —       (1,701 )        (1,701 )      (1.11 )

                    Other income, net(4)                                  (601 )          158            (443 )      (0.30 )

                    Impairment of equity
                    investments(7)                                        210              (49 )          161         0.11

                    Restructuring and impairment
                    charges                                                 33              (7 )            26        0.02

                  Excluding certain items affecting              EXHIBIT "2"
https://thewaltdisneycompany.com/the-walt-disney-company-reports-fourth-quarter-and-full-year-earnings-for-fiscal-2019/                    22/31
             Case
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                               The Walt Disney Company Reports Fourth528-2     Filed
                                                                      Quarter and       01/10/22
                                                                                  Full Year Earnings forPage    23 -of
                                                                                                        Fiscal 2019 The31
                                                                                                                        Walt Page    ID
                                                                                                                             Disney Company
                                                                   #:38322
                  comparability                                     $ 14,371        $ (3,262 ) $ 11,109            $ 7.08

     MENU
                  (1)   Tax benefit/expense is determined using the tax rate applicable to the individual item
                        affecting comparability.

                  (2)   Before noncontrolling interest share.

                  (3)   Net of noncontrolling interest share, where applicable. Total may not equal the sum of
                        the column due to rounding.

                  (4)   Other income, net for fiscal 2019 includes a non-cash gain recognized in connection with
                        the acquisition of a controlling interest in Hulu ($4.8 billion), insurance recoveries on a
                        legal matter ($46 million) and a gain on the deemed settlement of preexisting
                        relationships with TFCF pursuant to acquisition accounting guidance ($28 million),
                        partially offset by a charge for the extinguishment of a portion of the debt originally
                        assumed in the TFCF acquisition ($511 million). Other income for fiscal 2018 included
                        gains from the sale of real estate and property rights ($560 million), insurance proceeds
                        related to a legal matter ($38 million) and an adjustment to a fiscal 2017 non-cash gain
                        ($3 million).

                  (5)   Intangible asset amortization was $1,043 million, step-up amortization was $537 million
                        and amortization of intangible assets related to TFCF equity investees was $15 million for
                        assets recorded in connection with the TFCF acquisition and consolidation of Hulu.

                  (6)   Reflects severance and accelerated equity-based compensation charges related to the
                        acquisition and integration of TFCF.

                  (7)   Impairment of equity investments for fiscal 2019 primarily reflects impairments of Vice
                        Group Holding, Inc. and of an investment in a cable channel at A+E Television Networks
                        ($353 million and $170 million, respectively). Impairment of equity investments for fiscal
                        2018 reflects impairments of Vice Group Holding, Inc. and Villages Nature ($157 million
                        and $53 million, respectively).


                CONFERENCE CALL INFORMATION


                In conjunction with this release, The Walt Disney Company will host
                a conference call today, November 7, 2019, at 4:30 PM EST/1:30
                PM PST via a live Webcast. To access the Webcast go to
                www.disney.com/investors. The discussion will be archived.


                                             FORWARD-LOOKING STATEMENTS

                                                                 EXHIBIT "2"
https://thewaltdisneycompany.com/the-walt-disney-company-reports-fourth-quarter-and-full-year-earnings-for-fiscal-2019/                       23/31
             Case
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                            The Walt Disney Company Reports Fourth528-2     Filed
                                                                   Quarter and       01/10/22
                                                                               Full Year Earnings forPage    24 -of
                                                                                                     Fiscal 2019 The31
                                                                                                                     Walt Page    ID
                                                                                                                          Disney Company
                                                                #:38323
                Management believes certain statements in this earnings release
     MENU
                may constitute “forward-looking statements” within the meaning of
                the Private Securities Litigation Reform Act of 1995, including
                statements such as expectations regarding our products and
                services and other statements that are not historical in nature.
                These statements are made on the basis of management’s views
                and assumptions regarding future events and business
                performance as of the time the statements are made. Management
                does not undertake any obligation to update these statements.


                Actual results may differ materially from those expressed or
                implied. Such differences may result from actions taken by the
                Company, including restructuring or strategic initiatives (including
                capital investments, asset acquisitions or dispositions, integration
                initiatives and timing of synergy realization) or other business
                decisions, as well as from developments beyond the Company’s
                control, including:


                    changes in domestic and global economic conditions,
                    competitive conditions and consumer preferences;
                    adverse weather conditions or natural disasters;
                    health concerns;
                    international, regulatory, political, or military developments;
                    technological developments; and
                    labor markets and activities.

                Such developments may affect entertainment, travel and leisure
                businesses generally and may, among other things, affect:


                    the performance of the Company’s theatrical and home
                    entertainment releases;

                                                                 EXHIBIT "2"
https://thewaltdisneycompany.com/the-walt-disney-company-reports-fourth-quarter-and-full-year-earnings-for-fiscal-2019/                    24/31
             Case
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                            The Walt Disney Company Reports Fourth528-2     Filed
                                                                   Quarter and       01/10/22
                                                                               Full Year Earnings forPage    25 -of
                                                                                                     Fiscal 2019 The31
                                                                                                                     Walt Page    ID
                                                                                                                          Disney Company
                                                                #:38324
                    the advertising market for broadcast and cable television
     MENU           programming;
                    demand for our products and services;
                    construction;
                    expenses of providing medical and pension benefits;
                    income tax expense;
                    performance of some or all company businesses either
                    directly or through their impact on those who distribute our
                    products; and
                    achievement of anticipated benefits of the TFCF transaction.

                Additional factors are set forth in the Company’s Annual Report on
                Form 10-K for the year ended September 29, 2018 under Item 1A,
                “Risk Factors,” Item 7, “Management’s Discussion and Analysis,”
                Item 1, “Business,” and subsequent reports.


                                                         THE WALT DISNEY COMPANY
                                      CONDENSED CONSOLIDATED STATEMENTS OF INCOME
                                               (unaudited; in millions, except per share data)

                                                                               Quarter Ended                       Year Ended

                                                                         September September September September
                                                                          28, 2019         29, 2018         28, 2019       29, 2018

                 Revenues                                                $ 19,100         $ 14,306         $ 69,570       $ 59,434

                 Costs and expenses                                        (16,815 )        (11,223 )        (57,719 )     (44,597 )

                 Restructuring and impairment charges                          (314 )               (5 )       (1,183 )          (33 )

                 Other income (expense), net                                   (483 )            507            4,357           601

                 Interest expense, net                                         (361 )           (159 )           (978 )         (574 )

                 Equity in the income (loss) of investees,
                 net                                                            131             (224 )           (103 )         (102 )

                 Income from continuing operations
                 before income taxes                                          1,258            3,202          13,944        14,729

                 Income taxes from continuing operations                       (344 )           (783 )         (3,031 )     (1,663 )

                 Net income from continuing operations                          914            2,419          10,913        13,066
                                                                 EXHIBIT "2"
https://thewaltdisneycompany.com/the-walt-disney-company-reports-fourth-quarter-and-full-year-earnings-for-fiscal-2019/                    25/31
             Case
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                                                                   Quarter and       01/10/22
                                                                               Full Year Earnings forPage    26 -of
                                                                                                     Fiscal 2019 The31
                                                                                                                     Walt Page    ID
                                                                                                                          Disney Company
                                                                #:38325
                 Income from discontinued operations                            291                  —            671               —
                 (includes income tax benefit of $51, $0
     MENU
                 and $0, respectively)

                 Net income                                                   1,205            2,419           11,584          13,066

                 Less: Net income from continuing
                 operations attributable to noncontrolling
                 and redeemable noncontrolling interests                       (129 )             (97 )          (472 )          (468 )

                 Less: Net income from discontinued                                                  —                              —
                 operations attributable to noncontrolling
                 interests                                                       (22 )                             (58 )

                 Net income attributable to The Walt
                 Disney Company (Disney)                                 $    1,054       $    2,322       $ 11,054        $ 12,598


                 Earnings per share attributable to
                 Disney:

                   Continuing operations                                 $      0.43      $      1.55      $      6.27     $     8.36

                   Discontinued operations                                      0.15                 —            0.37              —

                   Diluted(1)                                            $      0.58      $      1.55      $      6.64     $     8.36


                   Continuing operations                                 $      0.44      $      1.56      $      6.30     $     8.40

                   Discontinued operations                               $      0.15      $          —     $      0.37     $        —

                   Basic(1)                                              $      0.58      $      1.56      $      6.68     $     8.40


                 Weighted average number of common
                 and common equivalent shares
                 outstanding:

                   Diluted                                                    1,816            1,497            1,666           1,507

                   Basic                                                      1,804            1,489            1,656           1,499



                (1) Total     may not equal the sum of the column due to rounding.


                                                         THE WALT DISNEY COMPANY
                                            CONDENSED CONSOLIDATED BALANCE SHEETS
                                               (unaudited; in millions, except per share data)

                                                                                                          September September
                                                                                                            28, 2019        29, 2018
                                                                 EXHIBIT "2"
https://thewaltdisneycompany.com/the-walt-disney-company-reports-fourth-quarter-and-full-year-earnings-for-fiscal-2019/                    26/31
             Case
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                            The Walt Disney Company Reports Fourth528-2     Filed
                                                                   Quarter and       01/10/22
                                                                               Full Year Earnings forPage    27 -of
                                                                                                     Fiscal 2019 The31
                                                                                                                     Walt Page    ID
                                                                                                                          Disney Company
                                                                #:38326
                 ASSETS

     MENU        Current assets

                   Cash and cash equivalents                                                              $     5,418     $    4,150

                   Receivables                                                                                15,481           9,334

                   Inventories                                                                                  1,649          1,392

                   Television costs and advances                                                                4,597          1,314

                   Other current assets                                                                            979           635

                      Total current assets                                                                    28,124          16,825

                 Film and television costs                                                                    22,810           7,888

                 Investments                                                                                    3,224          2,899

                 Parks, resorts and other property

                   Attractions, buildings and equipment                                                       58,589          55,238

                   Accumulated depreciation                                                                   (32,415 )       (30,764 )

                                                                                                              26,174          24,474

                   Projects in progress                                                                         4,264          3,942

                   Land                                                                                         1,165          1,124

                                                                                                              31,603          29,540

                 Intangible assets, net                                                                       23,215           6,812

                 Goodwill                                                                                     80,293          31,269

                 Other assets                                                                                   4,715          3,365

                      Total assets                                                                        $ 193,984       $ 98,598

                 LIABILITIES AND EQUITY

                 Current liabilities

                   Accounts payable and other accrued liabilities                                         $ 17,942        $    9,479

                   Current portion of borrowings                                                                8,857          3,790

                   Deferred revenue and other                                                                   4,722          4,591

                      Total current liabilities                                                               31,521          17,860

                 Borrowings                                                                                   38,129          17,084

                 Deferred income taxes                                                                          7,902          3,109

                 Other long-term liabilities                                                                  13,580           6,590
                                                                 EXHIBIT "2"
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                                                                                                                          Disney Company
                                                                #:38327
                 Commitments and contingencies

     MENU        Redeemable noncontrolling interests                                                             8,963        1,123

                 Equity

                   Preferred stock                                                                                    —           —

                   Common stock, $.01 par value, Authorized – 4.6 billion shares,
                   Issued – 1.8 billion shares at September 28, 2019 and 2.9 billion
                   shares at September 29, 2018                                                               53,907         36,779

                   Retained earnings                                                                          42,494         82,679

                   Accumulated other comprehensive loss                                                        (6,617 )      (3,097 )

                   Treasury stock, at cost, 19 million shares at September 28, 2019
                   and 1.4 billion shares at September 29, 2018                                                   (907 )    (67,588 )

                      Total Disney Shareholders’ equity                                                       88,877         48,773

                   Noncontrolling interests                                                                      5,012        4,059

                      Total equity                                                                            93,889         52,832

                Total liabilities and equity                                                              $ 193,984        $ 98,598


                                                         THE WALT DISNEY COMPANY
                                   CONDENSED CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                              (unaudited; in millions)

                                                                                                             Year Ended

                                                                                               September 28,          September 29,
                                                                                                     2019                  2018

                 OPERATING ACTIVITIES

                   Net income from continuing operations                                       $       10,913         $     13,066

                   Depreciation and amortization                                                         4,160               3,011

                   Gain on acquisitions and dispositions                                                (4,794 )              (560 )

                   Deferred income taxes                                                                   117               (1,573 )

                   Equity in the (income) / loss of investees                                              103                 102

                   Cash distributions received from equity investees                                       754                 775

                   Net change in film and television costs and advances                                   (542 )              (523 )

                   Equity-based compensation                                                               711                 393

                   Other                                                                                   206                 441

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                                                                               Full Year Earnings forPage    29 -of
                                                                                                     Fiscal 2019 The31
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                                                                                                                          Disney Company
                                                                #:38328
                   Changes in operating assets and liabilities, net of
                   business acquisitions:
     MENU
                      Receivables                                                                            55             (720 )

                      Inventories                                                                         (223 )             (17 )

                      Other assets                                                                         932              (927 )

                      Accounts payable and other accrued liabilities                                       191              235

                      Income taxes                                                                      (6,599 )            592

                   Cash provided by operations – continuing operations                                   5,984            14,295


                 INVESTING ACTIVITIES

                   Investments in parks, resorts and other property                                     (4,876 )          (4,465 )

                   Acquisitions                                                                         (9,901 )          (1,581 )

                   Other                                                                                  (319 )            710

                   Cash used in investing activities – continuing operations                          (15,096 )           (5,336 )


                 FINANCING ACTIVITIES

                   Commercial paper borrowings/(payments), net                                           4,318            (1,768 )

                   Borrowings                                                                          38,240              1,056

                   Reduction of borrowings                                                            (38,881 )           (1,871 )

                   Dividends                                                                            (2,895 )          (2,515 )

                   Repurchases of common stock                                                                —           (3,577 )

                   Proceeds from exercise of stock options                                                 318              210

                   Contributions from / sales of noncontrolling interests                                  737              399

                   Acquisition of noncontrolling and redeemable
                   noncontrolling interests                                                             (1,430 )               —

                   Other                                                                                  (871 )            (777 )

                   Cash used in financing activities – continuing operations                              (464 )          (8,843 )


                 CASH FLOWS FROM DISCONTINUED OPERATIONS

                   Cash provided by operations – discontinued operations                                   622                 —

                   Cash provided by investing activities – discontinued
                   operations                                                                          10,978                  —

                   Cash used in financing activities – discontinued                                       (626 )               —
                                                                 EXHIBIT "2"
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                                                                                                                          Disney Company
                                                                #:38329
                   operations

     MENU          Cash used in discontinued operations                                                10,974                 —


                 Impact of exchange rates on cash, cash equivalents and
                 restricted cash                                                                            (98 )           (25 )


                 Change in cash, cash equivalents and restricted cash                                    1,300              91

                 Cash, cash equivalents and restricted cash, beginning of
                 year                                                                                    4,155            4,064

                 Cash, cash equivalents and restricted cash, end of year                       $         5,455        $   4,155




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                                                                #:38330

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